          Case 3:20-cr-03476-CAB Document 12 Filed 11/06/20 PageID.16 Page 1 of 1



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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   United States of America,                       Case No.: 20-cr-03476-CAB
12                                      Plaintiff,
                                                     ORDER
13   V.

14   Daniel Salvador Gomez-Carachure,
15                                    Defendant.

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17           The Court orders the United States to comply with the continuing duty to disclose
18   material evidence which is favorable to the defendant as required by Brady v. Maryland,
19   373 U.S. 83 (1963), and its progeny. Upon finding that the government has failed to
20   comply with this order, the Court may, as appropriate, order the production of such
21   information, grant a continuance, impose evidentiary sanctions, or, in extreme cases,
22   dismiss charges.
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24   Dated: 11/05/2020
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                                                  BERM~EZMONTENEGR
                                                 HON. RUTH
                                                 UNITED STATES MAGISTRATE JUDGE
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                                                                                     «Case No »
